          Case 2:05-cr-00391-RSM        Document 294       Filed 12/12/05    Page 1 of 3




 1
 2
 3
 4
 5
 6
 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )               CASE NO.      CR05-391RSM
                                 )
12         v.                    )
                                 )
13                               )               DETENTION ORDER
    ANTHONY STEVEN ROGERS, )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Count I: Conspiracy to Distribute Controlled Substances, in violation of Title 21,
18            Sections 841(a)(1), 841(b)(1)(A), 841(b)(1)(B), 841(b)(1)(C), and 846.
19 Date of Detention Hearing: November 30, 2005
20            The Court, having conducted an uncontested detention hearing pursuant to Title
21 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
22 detention hereafter set forth, finds that no condition or combination of conditions which the
23 defendant can meet will reasonably assure the appearance of the defendant as required and
24 the safety of any other person and the community. The Government was represented by
25 Ron Friedman. The defendant was represented by Lee Covell.
26            The Government moved for detention. The defendant deferred to the Court.

     DETENTION ORDER
     PAGE -1-
        Case 2:05-cr-00391-RSM      Document 294       Filed 12/12/05    Page 2 of 3




 1      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2         (1)   There is probable cause to believe the defendant committed the drug
 3               offense. The maximum penalty is in excess of ten years. There is
 4               therefore a rebuttable presumption against the defendant’s release based
 5               upon both dangerousness and flight risk, under Title 18 U.S.C. §
 6               3142(e).
 7         (2)   Nothing in this record satisfactorily rebuts the presumption against
 8               release for several reasons:
 9               (a)    The DOC reports defendant was on escape status when arrested
10                      on October 14, 2005.
11               (b)    Defendant poses a risk of danger due to the nature of the instant
12                      offence and his criminal history.
13               (c)    The defendant did not contest to detention.
14         (3)   Based upon the foregoing information which is consistent with the
15               recommendation of U.S. Pre-trial Services, it appears that there is no
16               condition or combination of conditions that would reasonably assure
17               future Court appearances and/or the safety of other persons or the
18               community.
19
20         It is therefore ORDERED:
21         (l)   The defendant shall be detained pending trial and committed to the
22               custody of the Attorney General for confinement in a correction facility
23               separate, to the extent practicable, from persons awaiting or serving
24               sentences or being held in custody pending appeal;
25         (2)   The defendant shall be afforded reasonable opportunity for private
26               consultation with counsel;

     DETENTION ORDER
     PAGE -2-
        Case 2:05-cr-00391-RSM      Document 294       Filed 12/12/05     Page 3 of 3




 1         (3)   On order of a court of the United States or on request of an attorney for
 2               the Government, the person in charge of the corrections facility in which
 3               the defendant is confined shall deliver the defendant to a United States
 4               Marshal for the purpose of an appearance in connection with a court
 5               proceeding; and
 6         (4)   The clerk shall direct copies of this order to counsel for the United
 7               States, to counsel for the defendant, to the United States Marshal, and to
 8               the United States Pretrial Services Officer.
 9         DATED this 12th day of December, 2005.
10



                                                    A
11
12
13                                                  MONICA J. BENTON
                                                    United States Magistrate Judge
14
15
16
17
18
19
20
21
22
23
24
25
26


     DETENTION ORDER
     PAGE -3-
